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            In the United States Court of Federal Claims
                                          No. 16-1421C
                                    (Filed: November 7, 2017)

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 EFFICIENT ENTERPRISE                *
 ENGINEERING, INC.,                  *
                                     *
           Plaintiff,                *
                                     *
           v.                        *
                                     *
 THE UNITED STATES,                  *
                                     *
           Defendant.                *
                                     *
 **************************
         _________________________________________________________

                                DISCOVERY ORDER
             _________________________________________________________

        This Order supplements all other discovery rules and orders. It streamlines Electronically
Stored Information (“ESI”) production to promote a “just, speedy, and inexpensive determination”
of this action, as required by the Rules of the Court of Federal Claims (“RCFC”). It also
implements the parties’ agreement concerning the application of Federal Rule of Evidence 502(d).
This Order may be modified in the Court’s discretion or by agreement of the parties. A party’s
meaningful compliance with this Order and efforts to promote efficiency and reduce costs will be
considered in cost-shifting determinations.

1.     The parties agree that the proportionality standard set forth in RCFC 26(b)(1) should be
       applied to the discovery in this case, including the preservation, collection, search, review,
       and production of ESI.

2.     Absent agreement of the parties or further order of this Court, the following parameters
       shall apply to ESI production:

       a.      Format. Responsive ESI and imaged hard copy shall be produced in the format
               outlined below.

               i.     Image File Format. All images, paper documents scanned to images, or
                      rendered ESI, shall be produced as 300 dpi single-page TIFF files, CCITT
                      Group IV (2D Compression). Images should be uniquely and sequentially
                      Bates numbered and unless otherwise specified, Bates numbers should be
                      an endorsement on each image.
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           (1)     All TIFF file names shall include the unique Bates number burned
           into the image.

           (2)    All TIFF image files shall be stored with the “.tif” extension.

           (3)    Images shall be OCR’d using standard COTS products.

                  (a)    An exception report shall be provided when limitations of
                  paper digitization software/hardware or attribute conversion do not
                  allow for OCR text conversion of certain images. The report shall
                  include the DOCID or Bates number(s) corresponding to each such
                  image.

                  (b)    All pages of a document or all pages of a collection of
                  documents that comprise a folder or other logical grouping,
                  including a box, shall be delivered on a single piece of media.

                  (c)     No image folder shall contain more than 2000 images.

    ii.    Concordance® Image Cross Reference file: Images should be accompanied
           by a Concordance® Image Cross Reference file that associates each Bates
           number with its corresponding single-page TIFF image file. The Cross
           Reference file should also contain the image file path for each Bates
           numbered page.

           (1)    Image Cross Reference Sample Format:

                  ABC00000001,OLS,D:\DatabaseName\Images\001\
                  ABC00000001.TIF,Y,,,

                  ABC00000002,OLS,D:\DatabaseName\Images\001\
                  ABC00000002.TIF,,,,

                  ABC00000003,OLS,D:\DatabaseName\Images\001\
                  ABC00000003.TIF,,,,

                  ABC00000004,OLS,D:\DatabaseName\Images\001\
                  ABC00000004.TIF,Y,,,

    iii.   Concordance® Load File: Images should also be accompanied by a “text
           load file” containing delimited text that will populate fields in a searchable,
           flat database environment. The file should contain the required fields listed
           below in section 3.

           (1)   Text delimited load files are defined using the standard
           Concordance delimiters. For example:

                  Field Separator         ¶ or Code 020

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                      Text Qualifier          þ or Code 254

               (2)      This load file should also contain hyperlinks to applicable native
               files, such as Microsoft Excel or PowerPoint files.

               (3)    There should be one line for every record in a collection.

               (4)     The load file must contain a header listing the metadata/database
               fields contained within. For example, if the data file consists of a First Page
               of a Record (BegDoc#), Last Page of a Record (ending Bates / ENDDOC#),
               DOCID, DOCDate, File Name, and a Title, then the structure may appear
               as follows:

                     þBEGDOCþ¶þENDDOCþ¶þDOCIDþ¶þDOCDATEþ¶þFILENAM
               Eþ¶þTITLEþ

     iv.       The extracted/OCR text should be provided for each document as a separate
               single text file. The file name should match the BEGDOC# or DOCID for
               that specific record and be accompanied by the .txt extension.

     v.        Directory and folder structure: The directory structure for productions
               should be:

               \CaseName\LoadFiles

               \CaseName\Images < For supporting images (can include subfolders as
               needed, should not include more than 2,000 files per folder)

               \CaseName\Natives <Native Files location (can include subfolders as
               needed, should not include more than 2,000 files per folder)

               \CaseName\Text <Extracted Text files location (can include subfolders as
               needed, should not include more than 2,000 files per folder)

b.   Required Metadata/Database Fields. At a minimum, responsive documents must
     be produced with the following fields.

              DOCID
              AUTHOR
              BEGDOC
              ENDDOC
              GROUPID
              PARENTID
              ATTACHID
              ATTACHLIST
              BEGATTACH
              ENDATTACH

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                    FILE NAME
                    DOCDATE
                    DATE TIME CRTD
                    DATE TIME MOD
                    NATIVE LINK (for files produced in native format)
                    TEXT FILEPATH

              Furthermore, any responsive e-mails must be produced with the following
              additional fields when available:

                    DATE TIME SENT
                    DATE TIME RCVD
                    SUBJECT
                    TO
                    FROM
                    CC
                    BCC

     c.       Spreadsheets & Presentations. All spreadsheet and presentation files (e.g., Excel,
              PowerPoint) shall be produced in the unprocessed “as kept in the ordinary course
              of business” state (i.e., in native format), with an associated placeholder image and
              endorsed with a unique Bates number. The file produced should maintain the
              integrity of all source, custodian, application, embedded and related file system
              metadata. No alteration shall be made to file names or extensions for responsive
              native electronic files. Images of presentation files shall also be produced.

     d.       Embedded Files. All non-graphic embedded objects (e.g., Word documents, Excel
              spreadsheets, .wav files, etc.) that are found within a file shall be extracted and
              produced. For purposes of production, the embedded files shall be treated as
              attachments to the original file, with the parent/child relationship preserved.

     e.       No Backup Restoration Required. Absent a showing of good cause, no party need
              restore any form of media upon which backup data is maintained in a party’s normal
              or allowed processes (e.g., backup tapes, disks, storage area networks (“SANs”))
              to comply with its discovery obligations in the present case.

     f.       Voicemail and Mobile Devices. Absent a showing of good cause, voicemails,
              PDAs and mobile phones are deemed not reasonably accessible under RCFC 26
              and need not be collected and preserved.

3.   General ESI production requests under RCFC 34 and 45 shall not include e-mail or other
     forms of electronic correspondence (collectively “e-mail”). To obtain e-mail, parties must
     propound specific e-mail production requests.

     a.       E-mail production requests shall only be propounded for specific issues, rather than
              general discovery of a product or business.


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     b.     The parties will endeavor to phase e-mail production requests to occur after the
            parties have exchanged initial disclosures and produced any basic contract,
            financial and technical documentation responsive to discovery propounded by the
            parties. Nothing in this Order, however, shall require the parties to agree or the
            Court to order that the parties’ initial disclosures and/or production of basic
            contract, financial and technical documentation responsive to discovery
            propounded by the parties is sufficient or has been completed before either party is
            entitled to propound e-mail production requests.

     After the time period described above in sub-Paragraph (b), the parties will negotiate case-
     appropriate limitations on e-mail custodians and search methodologies that reduce the risk
     of overproduction.

4.   Nothing in this Order prevents the parties from agreeing to use technology assisted review
     and other techniques insofar as their use improves the efficacy of discovery. Nothing in
     this Order prevents the parties from agreeing to phase production of ESI based on topics
     and/or custodians.

5.   Absent a showing of good cause, communications involving trial counsel for the respective
     parties that post-date the filing of the Complaint in the U.S. Court of Federal Claims need
     not be placed on a privilege log.

6.   Pursuant to Federal Rule of Evidence 502(d):

     a.     In connection with this litigation, the inadvertent disclosure or production of
            privileged or work-product protected documents, ESI, communications, or
            information (in this Section 6, “documents”), is not a waiver of the privilege
            (including governmental privileges) or protection from discovery in this case or in
            any other federal or state proceeding.

     b.     The inadvertent disclosure of privileged or protected documents in this litigation
            shall not constitute a subject matter waiver of the privilege or protection in this or
            any other proceeding regardless of the standard of care or specific steps taken to
            prevent disclosure. For example, the mere production of ESI in this case as part of
            a mass production shall not itself constitute a waiver for any purpose.

     c.     If a party receives documents that the producing party specifies and asserts is
            privileged or protected, and the receiving party does not dispute this assertion of
            privilege or protection, the receiving party must either: a) promptly return the
            specified documents and any copies; or b) destroy the specified documents and
            certify to the producing party that the documents, copies and any notes taken about
            the documents have been destroyed. If the receiving party disclosed the document
            before receiving notice from the producing party, it must notify the producing party
            of the disclosure and take reasonable steps to retrieve the document.

     d.     If a party receives documents that the producing party asserts is privileged or
            protected, and the receiving party disputes this assertion of privilege or protection,
            the receiving party shall not use those documents in this case (e.g., filed as an
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            exhibit to a pleading, used in deposition). Instead, the receiving party will sequester
            the specified documents, and the parties will promptly meet and confer. If the
            parties are unable to come to an agreement about the privilege assertions, the
            receiving party may make a sealed motion for a judicial determination of the
            privilege claim.

     e.     Nothing contained in this Order is intended to or shall serve to limit a party’s right
            to conduct a review of documents (including metadata) for relevance,
            responsiveness and/or segregation of privileged and/or protected information
            before production.

7.   Except as expressly stated, nothing in this Order affects the parties’ discovery obligations
     under RCFC.


                                                    s/Mary Ellen Coster Williams
                                                   MARY ELLEN COSTER WILLIAMS
                                                   Judge




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